Filed 8/27/24 P. v. Loera CA2/7
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                      DIVISION SEVEN


 THE PEOPLE,                                                  B332216

           Plaintiff and Respondent,                          (Los Angeles County
                                                              Super. Ct. No. BA512237)
           v.

 MATTHEW LOERA,

           Defendant and Appellant.




     APPEAL from a judgment of the Superior Court of
Los Angeles County, Mark S. Arnold, Judge. Affirmed.
     Jennifer A. Gambale, under appointment by the Court of
Appeal, for Defendant and Appellant.
     No appearance for Plaintiff and Respondent.

                                        _______________
                       INTRODUCTION
       Matthew Loera appeals from his convictions pursuant to a
plea of no contest for assault with intent to commit rape, sexual
penetration by use of force, and attempted forcible rape. We
appointed counsel to represent Loera in this appeal. Loera’s
appointed counsel reviewed the record and did not identify any
arguable issues. (People v. Wende (1979) 25 Cal.3d 436.) Nor,
after reviewing the record independently, have we. Therefore, we
affirm.
      FACTUAL AND PROCEDURAL BACKGROUND
       In an information, the People charged Loera with one count
of assault with intent to commit a felony (Pen. Code, § 220, subd.
(a)(1); count 1)1; sexual penetration by use of force (§ 289, subd.
(a)(1)(A); count 2); and attempted forcible rape (§§ 261, subd.
(a)(2), 664; count 3). As to count 1, the People alleged Loera
“unlawfully assault[ed] Antonia Doe [Doe] with the intent to
commit rape, sodomy, oral copulation and a violation of sections
264.1, 288 and 289.” As to count 2, the People alleged Loera
“committed an act of sexual penetration against the will of [Doe]
by means of force, violence, duress, menace and fear of immediate
and unlawful bodily injury.” As to count 3, the People alleged
Lara “unlawfully attempt[ed] to have and accomplish an act of
sexual intercourse” with Doe against her will. As to all three
counts, the information alleged six aggravating factors within the
meaning of California Rules of Court, rule 4.421(a)(1), (a)(3),
(b)(1), (b)(2), and (b)(5), and rule 4.408.
       Loera filed a brief arguing the three counts charged
amounted to a single criminal act of attempted rape, and thus he

1     Undesignated statutory references are to the Penal Code.



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could not be sentenced consecutively on the three counts under
section 654, which proscribes the imposition of double
punishment for multiple crimes based on the same act or acts
committed during a “ ‘course of conduct deemed to be indivisible
in time.’ ” (People v. Hicks (1993) 6 Cal.4th 784, 788-789.) He
contended his maximum sentencing exposure was eight years.
      The People submitted a brief arguing the court had the
discretion to sentence Loera to full-term, consecutive sentences
for counts 1 and 2 under section 667.6, subdivision (c), because
those two counts were for separate violent sex offenses that fell
within section 667.6, subdivision (e). (See People v. Hicks, supra,6 Cal.4th at p. 791 [holding the Legislature, “by enacting section
667.6, [subdivision] (c), . . . created an exception to section 654’s
prohibition against multiple punishment for separate acts
committed during an indivisible course of conduct”].) The People
argued the crime of assault with intent to commit rape (count 1)
was completed when Loera wrapped his arms around the victim
and pushed her towards the backseat of the car while stating his
intention of raping and killing her. In contrast, the crime of
sexual penetration by use of force (count 2) occurred when Loera
and the victim were in the backseat of the vehicle and Loera
digitally penetrated her. The People asserted the maximum total
sentence was 16 years.
      The trial court agreed that counts 1 and 2 concerned two
separate acts and thus section 667.6, subdivision (c), applied,
such that Loera could be sentenced to full, consecutive terms on
counts 1 and 2. Following advisement and waiver of his
constitutional rights, Loera, represented by counsel, pleaded no
contest to all three counts and admitted all six aggravating
factors. The trial court accepted Loera’s plea and admissions.




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       The court sentenced Loera to eight years in state prison,
consisting of the six-year middle term on count 2 and the two-
year lower term on count 1, imposed consecutively pursuant to
section 667.6, subdivision (c). The court imposed the middle term
of six years as to count 3, but stayed the term under section 654.
The court ordered a 10-year criminal protective order protecting
Doe, and ordered Loera to register as a sex offender under section
290 and undergo HIV testing under section 1202.1.
       Loera filed a timely notice of appeal, challenging only his
sentence. (Cal. Rules of Court, rule 8.304(2)(B).)
                           DISCUSSION
       After reviewing the record, counsel for Loera filed an
opening brief raising no issues. On April 15, 2024 counsel
informed Loera that she would be filing a Wende brief, and sent
Loera the record on appeal and a copy of the brief. Counsel also
informed Loera that he could file a supplemental brief. On
April 15, 2024, this court sent Loera a notice that he may file a
supplemental brief or letter within 30 days of the notice stating
any grounds for an appeal, or contentions, or arguments that he
wished for this court to consider. We have not received a
response.
       We have examined the record and are satisfied that
appellate counsel for Loera has complied with her responsibilities
and that there are no arguable issues. (See Smith v. Robbins
(2000) 528 U.S. 259, 277-284; People v. Kelly (2006) 40 Cal.4th
106, 118-119; People v. Wende, supra, 25 Cal.3d at pp. 441-442.)
                           DISPOSITION
       The judgment is affirmed. The trial court is directed to
prepare a corrected abstract of judgment, to state count 1 is a
conviction for assault with intent to commit rape, not mayhem,




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and to clarify the sentence on count 2 is imposed under section
667.6, subdivision (c). The trial court is directed to forward a
certified copy of the corrected abstract of judgment to the
Department of Corrections and Rehabilitation.




                                          STONE, J.
We concur:



                  MARTINEZ, P. J.




                  SEGAL, J.




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